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_SEALED                                                                                 FLED
                               j   UNITED STATES DISTRICT COURT
[                                   WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION                             MiG 22 2O8


     UNITED STATES OF AMERICA,                            CRIMiNAL NO.
                                                  th       ..4 t
                                                  ft;P%
             Plaintiff,                             §     I    I T1tNTI
                   V.



     SCHERRY LYNN MOSES,
                                                    §
                                                    §
                                                    §
                                                          18 U.S.C. § 1347,
                                                      Health Care Fraud
                                                      18 U.S.C. § 2,
                                                                                             OG
                                                    § Aiding and abetting Health
                                                    § Care Fraud
                                                    § 18 U.S.C. § 1343,
                                                    § Wire Fraud,
            Defendant.                              § 18 U.S.C. § 1028A(a)(1),
                                                    § Aggravated Identity Theft
                                                    § 18 U.S.C. § 2,
                                                    § Aiding and abetting
                                                    § Aggravated Identity Theft
                                                    §     18U.S.C.641,
                                                    §     Theft of Government Funds
                                                    §     42 U.S.0 § 1383a (a)(3)(B),
                                                    §     Social Security Fraud
                                                    §     18 U.S.0 § 1001(a)(1),
                                                    §     False Statements
                                                    §     18 U.S.C. § 981 and 982,
                                                    §     Forfeiture Notice


                                                INDICTMENT

    THE GRAND JURY CHARGES:

    At all times material to this Indictment:

                                           THE DEFENDANT
           1.      Defendant SCHERRY LYNN MOSES did business in and around San Antonio,

    Texas as an individual/sole proprietor and under the DBA (Doing Business As) of Scherry's

    Adult Day Activity Center. Defendant SCHERRY LYNN MOSES also did business in and

    around San Antonio, Texas under the DBA New Creation Residential Care Homes.
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         2.     Defendant SCIIERRY LYNN MOSES, doing business as Scheny's Adult Day

 Activity Center, rented, leased, or otherwise occupied real property in San Antonio, Texas at 552

 South WW White Road, (hereinafter referred to as WW White) and at 4464 E. Houston Street

 (hereinafter referred to as Houston Street). At those locations, she offered to provide adult day

 activity and health services, commonly referred to as adult day care services, to elderly persons,

 and to persons with disabilities. SCHERRY LYNN MOSES also used those properties as

 boarding homes for elderly persons, persons with disabilities, and/or other persons.

        3.      In addition to the properties described in paragraph 2, and as more fully described

 below, defendant SCHERRY LYNN MOSES, rented, leased, caused others to lease, or

 otherwise occupied other real property in San Antonio, Texas. Defendant SCHERRY LYNN

MOSES offered to provide, and/or purported to provide, boarding home services at those

locations.

        4.     At times, defendant SCHERRY LYNN MOSES, also rented rooms at one or

more motels in or around San Antonio, Texas. Defendant SCHERRY LYNN MOSES used

and/or purported to use the motel rooms as adult day care facilities and/or boarding homes.

        5.     Defendant SCHERRY LYNN MOSES owned a business checking account at

Woodforest National Bank in San Antonio, Texas which she opened as a Single Party, Sole-

Proprietorship account, and for which she listed the owner of the account as Scherry L Moses

DBA New Creation Residential Care Homes, with an address of 5803 Wayview San Antonio,

Texas. Defendant SCHERRY LYNN MOSES also owned a second business checking account

at Woodforest National Bank in San Antonio, Texas which she opened as a Sole-Proprietorship

account, and for which she listed the owner of the account as Scherry L Moses DBA Scherry's

Adult Day Activity Center, with an address of P.O. Box 201602 San Antonio, Texas.



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         6.     Defendant SCHERRY LYNN MOSES assumed the duty and the responsibility

 to provide adequate and appropriate care for the elderly and/or disabled persons who relied upon

 her to provide them with adult activity and health services and with shelter. Many of the people

 just described were recipients of benefits provided by the Texas Medicaid program and/or the

 federal Supplemental Security Income program.


     TEXAS LAWS REGULATING ADULT DAY CARE SERVICES and FACILITIES

         7.     Day Activity and Health Services (DAHS) in Texas, commonly referred to as

 adult day care services, were regulated by the Texas Administrative code and the Texas Human

 Resources Code. Chapter 103 of the Texas Human Resources Code, known as the "Day

Activities and Health Services Act," was created to "establish programs of quality day activity

and health services that will enable persons with disabilities who have medical or functional

impairments and elderly persons to maintain maximum independence and to prevent premature

or inappropriate institutionalization." The purpose of the Act was also to: "provide adequately

regulated supervision for elderly persons and persons with disabilities while enabling them to

remain in a family environment and affording the family a measure of normality in its daily

activities." Services at DAHS facilities were to be designed to address the physical, mental,

medical, and social needs of individuals through the provision of rehabilitative/restorative

nursing and social services to improve or maintain a person's level of functioning.

        8.     A "Day activity and health services facility" was defined by the Texas Human

Resource Code as: "A facility that provides services under a day activity and health services

program on a daily or regular basis, but not overnight, to four or more elderly persons or persons

with disabilities who are not related by blood, marriage or adoption to the owner of the facility."

As used in the Texas Administrative Code, "Elderly person" was defined as a person 65 years of
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  age or older, and "Person with a Disability" was defined as a person whose functioning
                                                                                         was
  sufficiently impaired to require frequent medical attention, counseling, physical therapy,

 therapeutic or corrective equipment, or another person's attendance and supervision.

         9.      A "Day activity and health services program" was defined by the Texas Human

 Resource Code as: "a structured, comprehensive program that is designed to meet the needs
                                                                                           of
 adults with functional impairments through an individual plan of care by providing health,
                                                                                            social,
 and related support services in a protective setting.

         10.     No person was permitted to establish or operate a DAHS facility in Texas without

 a license issued by the Texas Department of Aging and Disability Services (DADS) in

 accordance with the Texas Human Resources Code, Chapter 103, and Chapter 98 of the Texas

 Administrative Code. Licensed Day Activity and Health Services facilities provided daytime

 services, up to 10 hours per day, Monday through Friday.

        11.     The standards for DAHS facilities in Texas were developed to comply with the

intent and requirements of: Title 6 of the Texas Human Resources Code, Chapters 102 and 103;

45 Code of Federal Regulations (CFR) Part 96, Title XX     of the Social Security Act; and 42 CFR
440.130(d), Title XIX of the Social Security Act.


               TEXAS LAWS REGULATING BOARDING HOME FACILITIES

        12.     Boarding home facilities in Texas were regulated by the Texas Health and Safety

Code. A "Boarding home facility" was defined in the code as "an establishment that: (A)

furnishes, in one or more buildings, lodging to three or more persons with disabilities or elderly

persons who are unrelated to the owner of the establishment by blood or marriage; and (B)

provides community meals, light housework, meal preparation, transportation, grocery shopping,

money management, laundry services, or assistance with self-administration of medication but
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 does not provide personal care services as defined by Section 247.002 to those persons."

 "Elderly person" was defined as a person 65 years of age or older. "Person with a disability" was

 defined as "a person with a mental, physical, or intellectual or developmental disability that

 substantially impairs the person's ability to provide adequately for the person's care or protection

 and who is: (A) 18 years of age or older; or (B) under 18 years of age and who has had the

 disabilities of minority removed."

        13.     As required by House Bill 216 (81st Texas Legislature, Regular Session, 2009),

the Texas Health and Human Services Commission (HHSC) developed, and approved, model

standards for the operation of boarding home facilities, The model standards related among other

things to housing conditions, to ensure the residents' health, safety, comfort, and protection from

fire hazard, sanitary and related conditions in a boarding home facility and its surroundings, to

ensure the residents' health, safety, and comfort.


                      THE DEFENDANT'S ILLEGAL OPERATION OF
                       SCIIIERRY'S ADULT DAY ACTIVITY CENTER

        14.    Defendant SCHERRY LYNN MOSES had a license to operate a DAHS facility

at the WW White location from on or about November 08, 2009 until on or about November 08,

2011. In or around November 2011 DADS denied defendant SCHERRY LYNN MOSES'

application to renew her license to operate Scherry's Adult Day Activity Center as a DAHS

facility at the WW White location because of violations of the Texas Life and Safety Code.

Defendant SCHERRY LYNN MOSES ignored the denial of her application to operate a DAHS

facility at the WW White location and continued to offer, and bill, for DAHS services at that.

address from and after November 2011. Defendant SCHERRY LYNN MOSES also used the

WW White address as a boarding home.

       15.     Defendant SCHERRY LYNN MOSES held a license to operate a DAHS facility
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 at the Houston Street location from on or about August 05, 2010 until on or about August 05,

 2014. The Houston Street DAHS facility closed when defendant SCIIERRY LYNN MOSES

 was evicted from that property for nonpayment of rent on or about February 26, 2013. When

 defendant SCHERRY LYNN MOSES was evicted from the Houston Street property, she took

 the license for that facility to the property on WW White. Although the license was only valid for

 the Houston Street facility, defendant SCHERRY LYNN MOSES displayed it at the WW

 White location as if it was a valid license for that location/facility.

                              MEDICAID AND SOCIAL SECURITY

                                               Medicaid

         16.     The Texas Medical Assistance program (hereinafter referred to as Medicaid) was

 a state specific, but federal health care benefit program created on or about September 1, 1967

 under the provisions of, and subject to, Title XIX of the federal Social Security Act, and Chapter

32 of the Texas Human Resources Code. Through its various plans and programs, the Medicaid

program was a plan or program, or network of plans and programs, which through insurance or

otherwise, provided health care benefits, to persons who had limited income. Medicaid was

funded in part by the State of Texas, and in part by the United States Government. Medicaid was

a health care benefit program as defined by 18 U.S.C.     §   24(b).

        17.     The Texas Health and Human Services Commission (HHSC) was the state

governmental agency responsible for the Medicaid program in Texas. HHSC arranged for

various entities to provide administrative services to the Medicaid program in Texas, including

but not limited to, as processing and/or arranging for the payment of bills submitted by

authorized Medicaid providers for allowed services provided to Texas to Medicaid recipients.
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           18.     Authorized Medicaid providers who provided adult day
                                                                        care services (Day
   Activity and Health Services) to Medicaid recipients
                                                            in Texas submitted their bills for Medicaid
   payments to the Texas Medicaid and Health Care
                                                  Partnership (TMHP), or to        the Texas Medicaid
   Managed Care Organizations (MCOs) known as
                                                       Amerigroup of Texas, Inc., Molina Healthcare
  of Texas, Inc., and Superior Health Plan, Inc.

          19.     Authorized Medicaid providers submitted their bills, also
                                                                            known as claims, for
  services either in hard copy or electronically.
                                                  Electronic bills to Molina Healthcare of Texas, Inc.
 were processed through Molina's office in
                                               Albuquerque, New Mexico. Electronic bills to
 Superior Health Plan, Inc. were processed through
                                                       Superior's office in Farmington, Missouri.
 Every bill from a provider contained a certification
                                                       that the claims being billed were true and
 accurate, that the services were reasonable and
                                                   medically necessary, and that the claimed
 medical services had actually been provided by the
                                                       Medicaid provider.
         20.     A National Provider Identifier (NPI) was a
                                                            unique government issued
 identification number assigned to providers of health care
                                                               items and services. The NPI was a   10-.
digit number assigned randomly by the National
                                                     Plan and Provider Enumeration System
(NPPES), which was developed by the federal
                                                 government through the Centers for Medicare and
Medicaid Services (CMS). The purpose of the National
                                                     Provider Identifier (NPI) was to improve
the efficiency and effectiveness of the electronic
                                                   transmission of health information by health
care providers. A health care provider used her or his
                                                         unique assigned NPI number to identifr
herself or himself in standard transactions, such as
                                                       health care claims to Medicaid, as the person
who provided the health care services billed. In or
                                                    around January 2008, defendant SCHERRY
LYNN MOSES applied for and was assigned her own
                                                          individual and unique NPI number.




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           21.    Defendant SCHERRY LYNN MOSES, doing business as Scherry's Adult Day

 Activity Center entered into agreements with the Texas Department of Aging and Disability

 Services (DADS) and the Medicaid Managed Care Organizations (MCOs) known as Amerigroup

 of Texas, Inc., Molina Healthcare of Texas, Inc., and Superior Health Plan, Inc. to provide adult

 day care services (Day Activity and Health Services) to Medicaid recipients in Texas. Medicaid

 and the MCOs just described were all health care benefit programs as defined by 18 U.S.C.
                                                                                                 §

 24(b).

          22.    Title 1, Texas Administrative Code, Section 355.105 required providers,

including defendant SCHERRY LYNN MOSES, doing business as Scherry's Adult Day

Activity Center, to submit annual cost reports containing financial and statistical information to

reflect the activities of the provider while delivering contracted services during the prior fiscal

year. Cost reports were required to contain adequate documentation consisting of all materials

necessary to demonstrate the relationship of personnel, supplies, and services to the provision of

contracted client care.

          23.    SCHERRY LYNN MOSES' contract with the Texas Department of Aging and

Disability Services (DADS) was effective as of September 01, 2008. On June 09, 2009 the Texas

Health and Human Services Commission, suspended payments to defendant under the DADS

contact because of her failure or refusal to produce a mandatory cost report for 2008. Defendant

SCHERRY LYNN MOSES was able to continue to bill (and receive payments from) the

MCOs.

          24.    In and around June and July 2014, Medicaid MCOs Molina Healthcare of Texas,

Inc., and Superior Health Plan, Inc. independently asked defendant SCHERRY LYNN MOSES

to confirm that the DAHS facility she was ostensibly operating at the WW White address was



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 properly licensed by the Texas Department of Aging and Disability Services (DADS). In

 response to both requests defendant SCHERRY LYNN MOSES falsely provided the license

 number she held for the abandoned and closed Houston Street facility.

                        Social Security and Supplemental Security Income

         25.    The federal Social Security Act was created for the purpose of establishing a

 system of federal benefits for senior citizens, generally known as Social Security retirement

 benefits.

        26.     The federal Supplemental Security Income (SSI) program was created for the

purpose of providing financial assistance to persons who are disabled, blind, or aged 65 or older,

who have little or no means of providing income for themselves. The program provided monthly

payments intended to meet the recipients' basic needs for food, clothing and shelter.

        27.     The federal Social Security Administration (SSA) administered the Social

Security and the Supplemental Security Income programs and was responsible for sending

monthly Social Security retirement payments and Supplemental Security Income payments to

qualified beneficiaries.

        28.    Millions of Americans who received monthly Social Security or Supplemental

Security Income (SSI) benefits, needed help managing their money. The Social Security's

Representative Payment Program provided a mechanism for financial management for the Social

Security and SSI payments of beneficiaries who were incapable of managing their Social

Security or SSI payments. The program allowed Social Security and SSI beneficiaries to appoint

a relative, friend, or other interested party to serve as the beneficiary's "representative payee." A

person appointed as a representative payee, took on an important responsibility and a fiduciary

duty to the beneficiary.
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             29.      Representative payees were required to know the
                                                                      beneficiary's needs so the
   representative payees could decide the best use of benefits
                                                               for the beneficiary's     care and well-
   being. The Social Security Administration required
                                                      representative payees to use the SSI
  payments: (1) First, to take care of the beneficiary's
                                                         day-to-day needs for food and shelter; (2)
  Second, for the beneficiary's medical and dental care
                                                          that was not covered by health insurance;
  (3) Third, for the beneficiary's personal needs,
                                                   such as clothing and recreation. The
  representative payee was required to save, preferably in an
                                                              interest-bearing account or U.S.
  Savings Bonds, any money left after paying for the
                                                     beneficiary's needs.
         30.         Every person who was a recipient of Supplemental
                                                                      Security benefits     received a
  government issued identification number as a means of
                                                             identification. Every Social Security
 identification number was unique, and personal to the Social
                                                              Security recipient to whom it was
 assigned. Social Security identification numbers were a
                                                         means of identification used to identif'
 Supplemental Security recipients.


                     THE DEFENDANTS' SCHEME TO DEFRAUD
                                                       MEDICAID
        31.         Beginning on or about January 07, 2008 and continuing
                                                                          through on or about May
09, 2016, defendant SCHERRY LYNN MOSES
                                                    executed or attempted to execute a scheme or
artifice to defraud the health care benefit program known as
                                                             Medicaid, through the Medicaid
Managed Care Organizations known as Amerigroup of Texas,
                                                                   Inc., Molina Healthcare of Texas,
Inc., and Superior Health Plan, Inc., or to obtain, by
                                                       means of false or fraudulent pretenses,
representations or promises any of the money or property owned by
                                                                  or         under the control of said
health care benefit programs. Said scheme or artifice was in
                                                                connection with the delivery or
payment for health care benefits.

       32.         As part of the execution or attempted execution of her
                                                                            scheme or artifice

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described in paragraph 31 and elsewhere herein, in furtherance thereof, and for the purpose of

executing her scheme or artifice to defraud the Medicaid and the Medicaid MCOs, defendant

SCHERRY LYNN MOSES:

       a.     Held herself out as operating one or more adult day care (DAHS) facilities in or
              around San Antonio, Texas

       b.     Operated one or more adult day care (DAHS) facilities in or around San Antonio,
              Texas in violation of the Texas Day Activity and Health Services Act.

       c.     Failed to provide the level, quality, and quantity of adult day care services
              required of a properly qualified DAHS Facility.

       d.     Submitted bills to the Medicaid MCOs for adult day care services (DAHS) that
              did not meet the level, quality and quantity of services required of a properly
              qualified DAIIS Facility; and which did not meet the level, quality and quantity of
              the services she was required by Medicaid and the Medicaid MCOs to provide in
              order to bill for adult day care services.

      e.     Submitted false and fraudulent bills to the Medicaid MCOs for adult day care
             services (DAHS) allegedly provided to Medicaid recipients at the WW White
             location, when in fact she provided no services to the Medicaid recipients.

      f.     Submitted false and fraudulent bills to the Medicaid MCOs for adult day care
             services (DAHS) allegedly provided to Medicaid recipients, when in fact, she
             provided no services because the Medicaid recipients were incarcerated in the
             Bexar County Jail on the dates she claimed to have provided the services.

      g.     Submitted a bill to a Medicaid MCO for adult day care services (DAHS) allegedly
             provided to a Medicaid recipient, when in fact, she provided no services because
             both she and the Medicaid recipient were incarcerated in the Bexar County Jail on
             the dates she claimed to have provided the services.

     h.      Transmitted or caused to be transmitted, by means of wire, radio, or television

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                  communication in interstate commerce writings, including but not
                                                                                      limited to, false
                  and fraudulent bills, and electronic funds transfers on said
                                                                               bills.

          i.     Falsely and fraudulently represented to the Medicaid MCOs
                                                                           and the public that
                 the facility at 552 WW White Road, San Antonio, Texas was
                                                                            licensed by the State
                 of Texas as an adult day care facility (DAHS).

         j.      Falsely and fraudulently represented to Molina Healthcare of
                                                                                  Texas, Inc. that she
                 had never been sanctioned or disciplined by any State or
                                                                          Federal body.

         k.      Falsely and fraudulently failed to disclose to Superior Health
                                                                                 Plan, Inc. that she
                 had a prior felony conviction for welfare fraud in the State of
                                                                                 Texas.

         1.      Falsely and fraudulently stated, under oath, on applications to
                                                                                 renew her licenses
                 to operate Day Activity and Health Services (DAHS)
                                                                        facilities in San Antonio,
                 Texas at 552 South WW White Road, and at 4464 E. Houston
                                                                                   Street, that she had
                 never been convicted of a state crime that carried a penalty of
                                                                                  incarceration.

                         DEFENDANT'S SOCIAL SECURITY FRAUD

          REPRESENTATIVE PAYEE SCHEME TO CONVERT BENEFITS AND
                 CONCEALMENT OF MATERIAL INFORMATION
        33.     SCHERRY LYNN MOSES' scheme to defraud the beneficiaries she
                                                                            represented
centered on her operation of unlicensed boarding homes and misuse of the
                                                                         beneficiaries'
benefits. As a representative payee SCHERRY LYNN MOSES was
                                                                          required to use the
beneficiary's benefits for the needs of those who she represented. SCHERRY
                                                                           LYNN MOSES
not only controlled the benefits paid to her by the SSA as a representative
                                                                            payee, but was also the
owner/operator and landlord for facilities in which each of these beneficiaries
                                                                                lived.   SCHERRY
LYNN MOSES charged a monthly room and board fee between $500 and
                                                                 $700 to each of the
beneficiaries. For this fee, the beneficiaries were supposed to receive the
                                                                            following services:
minimum of two meals a day, bed, paid utilities and monthly allowance for
                                                                               personal purchases.

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 SCHERRY LYNN MOSES did not meet these basic needs and would regularly leave the

 beneficiaries to care for themselves.

         34.      SCBIERRY LYNN MOSES rented homes or commercial properties for $1,000

to $2,500 per month and would place between eight to ten beneficiaries in these properties.

SCHERRY LYNN MOSES received $4,500 to $7,000 monthly in SSA benefits from the

beneficiaries for room and board, depending on the number of beneficiaries for whom she was

the representative payee for on any particular month. The amount received should have allowed

her to meet her contractual obligations for each property.

        35.       SCHERRY LYNN MOSES would make one or two rental payments to the

rental property owners/managers and would discontinue or refuse to make additional rental

payments. This led to the rental property owners filing civil suits resulting in forcible eviction of

SCHERRY LYNN MOSES and the beneficiaries from the properties. From 2013 through 2016,

the beneficiaries were forced to move and live in multiple hotels/motels throughout San Antonio.

During this time SCHERRY LYNN MOSES failed to: account for the money she was receiving

from the SSA, report the evictions to SSA and converted the beneficiary's monthly benefits for

her own personal use. During the relevant time periods SCHERRY LYNN MOSES took

multiple personal trips to casinos in Louisiana, leaving the beneficiaries without supervision or

access to their entitled funds.

                                  THE RENTAL AGREEMENTS

        36.      Below is a chart listing the properties in San Antonio, Texas leased by, or for,

SCHERRY LYNN MOSES, the monthly rent, and dates she was evicted from said properties:

      Property              Monthly Rent            Dates of Rental           Date of Eviction
                                                      Agreement
     Property 1           $1,000 per month       September 2008-2014        February 18, 2014
     Property 2           $1,000 per month       September 2009-2014        February 19, 2014

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       Property 3             $1,000 per month       March 2010-2014       March 07, 2014
    Properties 4 and   5      $5,000 per month       June 2014-2017       November 22, 2014
       Property 6           $1,600 (04/16-01/17)    March 2016-January      June 24, 2016
                            $1,650 (02/17-01/18)          2021
                            $1,700 (02/18-0 1119)
                            $1,750 (02/19-01/21)



                                         THE BENEFICIARIES

          37.    On February 16, 2016, SCHERRY LYNN MOSES submitted an application to

be BENEFICIARY             l's representative payee and the SSA selected SCHERRY LYNN MOSES
as BENEFICIARY 1 's representative payee. On the application SCIIERRY LYNN MOSES

listed Property 7, San Antonio, Texas, as her address. SCHERRY LYNN MOSES also stated

that BENEFICIARY 1 would be living with her at the listed address.

         38.     SSA systems records list BENEFICIARY       l's residential address from February
24, 2015 to March 31, 2017, as a property on Glen Arbor, San Antonio, Texas. BENEFICIARY

1   did not reside at a property on Glen Arbor in San Antonio, Texas. BENEFICIARY       1   resided at

a property on Mary Diane and Property 6.

         39.     On April 14, 2010, SCHERRY LYNN MOSES submitted an application and

was selected as the representative payee for BENEFICIARY 2. On September 24, 2013, the SSA

terminated SCHERRY LYNN MOSES as representative payee for BENEFICIARY 2. SSA

systems records list BENEFICIARY 2's residential address as Property 7.

         40.    On September 24, 2009, SCHERRY LYNN MOSES submitted an application

and the SSA selected SCHERRY LYNN MOSES as BENEFICIARY 3's representative payee.

On July 5, 2016, SSA terminated SCHERRY LYNN MOSES as the representative payee of

BENEFICIARY 3. SSA systems listed the address for BENEFICIARY 3 as P.O. Box 202274,

San Antonio, Texas from September 24, 2009 through July 5, 2016. BENEFICIARY 3 stayed at

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facilities run by SCHERRY LYNN MOSES.

        41.    On October 8, 2014, SCHERRY LYNN MOSES submitted an application and the

SSA selected her as the representative payee for BENEFICIARY 4 On January 8, 2016, the SSA

terminated SCHERRY LYNN MOSES as the representative payee. SSA systems listed

Property 7, San Antonio, Texas as BENEFICIARY 4's address from July 3, 2014 through July 1,

2016.

        42.    SCHERRY LYNN MOSES submitted an application and the SSA selected

SCHERRY LYNN MOSES as BENEFICIARY 5's representative payee on three separate

occasions: (1) submitted on March 11, 2011 and terminated on July 11, 2014; (2) submitted on

October 22, 2014 and terminated on April 11, 2015; (3) submitted on May 6, 2015 and

terminated on August 16, 2016. SSA systems listed addresses for BENEFICIARY 5 during the

period SCHERRY LYNN MOSES was the representative payee: (1) Property 2, San Antonio,

Texas from March, 2011 through July, 2014; (2) a property at WW White, San Antonio, Texas

from July, 2014 through October, 2014; (3) Property 7, San Antonio, Texas from October, 2014

through August, 2016.

        43.   SCHERRY LYNN MOSES submitted an application and the SSA selected

SCHERRY LYNN MOSES as the representative payee for BENEFICIARY 6 on three separate

occasions: (1) submitted on February 14, 2011 and terminated on September 29, 2011; (2)

submitted on June 8, 2012 and terminated on August 16, 2013; (3) submitted on January 28,

2014 and terminated on October 14, 2015. S SA systems listed addresses for BENEFICIARY 6

during the period SCHERRY LYNN MOSES was the representative payee: (1) Property 7, San

Antonio, Texas from February, 2011 through September, 2011; (2) a property at Leonidas, San

Antonio, Texas from June, 2012 through August, 2013; (3) Property 1, San Antonio, Texas from



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January, 2014 through October, 2015.

        44.    SCHERRY LYNN MOSES submitted an application and the SSA selected her

as BENEFICIARY 7 's representative payee on April 14, 2010. The SSA terminated

SCHERRY LYNN MOSES as the representative payee on October 26, 2016. SSA systems

listed Property 7 as the residence for BENEFICIARY 7 during the period in which SCHERRY

LYNN MOSES was listed as her representative payee.

       45.     SCHERRY LYNN MOSES submitted an application and the SSA selected her

as the representative payee for BENEFICIARY      8   on three separate occasions: (1) submitted on

December 30, 2009 and terminated on October 17, 2011; (2) submitted on December 16, 2011

and terminated on November 20, 2012; (3) submitted on May 14, 2014 and terminated on

December 15, 2015. SSA systems listed addresses for BENEFICIARY 8 during the period

SCHERRY LYNN MOSES was the representative payee as: a property on Leonidas, San

Antonio, Texas from December, 2009 through November, 2013 and Property 7, San Antonio,

Texas from April, 2014 through August, 2015. BENEFICIARY 8, lived in SCHERRY LYNN

MOSES-run homes on Leonidas, Regal View, Wayview and Mary Diane in San Antonio.

       46.     Law enforcement officials incarcerated BENEFICIARY         8   in the Bexar County

Jail from May 20, 2014 through December 16, 2014. SCHERRY LYNN MOSES, while acting

as the representative payee, concealed and failed to report his incarceration and fraudulently

continued receiving BENEFICIARY 8's SSI benefit payments and converted the 5Sf benefits to

her own use when no payment was due.

       47.    SCHERRY LYNN MOSES repeatedly listed her personal residence, property 7,

San Antonio, TEXAS, as the residence for the beneficiaries on SSA representative payee

applications. As of August 6, 2013, SCHERRY LYNN MOSES could not have owned or lived



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 at the property in question as it was the subject of a foreclosure.


                                           COUNTS      1-4
                   HEALTH CARE FRAUD and AIDING AND ABETTING
                        Title 18 United States Code, § 1347 and 2

        48.     The Grand Jury incorporates by reference paragraphs    1   through 47 set out above

as though fully restated and re-alleged herein.

        49.     Beginning on or about January 07, 2008, and continuing through on or about May

09, 2016, in the Western District of Texas, and elsewhere within the jurisdiction of the Court,

and in connection with the delivery of, or payment for, health care benefits, items and services,

defendant,

                                    SCHERRY LYNN MOSES

aided and abetted by others, and aiding and abetting others, knowingly and willfully

executed and attempted to execute a scheme and artifice to defraud health care benefit

programs, namely the Texas Medicaid program and the Texas Medicaid Managed Care

Organizations (MCO5) known as Amerigroup of Texas, Inc., Molina Healthcare of

Texas, Inc., and Superior Health Plan, Inc.; or to obtain by means of false and fraudulent

pretenses, representations and promises, money and property owned by or under the

custody and control of said health care benefit programs. As a part of said scheme and

artifice, SCHERRY LYNN MOSES submitted, or caused others to submit, false and

fraudulent claims to the Texas Medicaid Managed Care Organizations (MCOs) known as

Amerigroup of Texas, Inc., Molina Healthcare of Texas, Inc., and Superior Health Plan,

Inc. for adult day care services (DAHS) which were not provided, including but not

limited to the following:



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  Count       Medicaid           Claimed Service Dates          Date billed      Amount
              Recipient                                        (on or about)      Billed

    1           B.C.            10/14/2013to 10/18/2013         11/09/2013       $140.10
    2           C.A.        02/03/2014to 02/07/2014             02/23/2014       $140.10
    3           C.C.        09/08/2014 to 09/12/2014            09/22/2014       $140.10
    4           B.R.        10/20/2014to 10/24/2014             11/02/2014       $140.10

All in violation of Title 18, United States Code,   §    1347 and 2.


                                            COUNTS       5-8
                                            WIRE FRAUD
                                  Title 18 United Statei Code, § 1343

        50.     The Grand Jury incorporates by reference paragraphs 1 through 47 set out above as

though fuliy restated and re-alleged herein.

        51.    Beginning on or about November 14, 2011 and continuing through on or about

May 09, 2016, in the Western District of Texas, and elsewhere within the jurisdiction of the

Court, defendant,

                                     SCHERRY LYNN MOSES
having devised or intended to devise a scheme or artifice to defraud the Texas Medicaid MCOs,

or for obtaining money or property from the Texas Medicaid MCOs by means of false or

fraudulent pretenses, representations, or promises, transmitted or caused to be transmitted by

means of wire, radio, or television communication in interstate commerce, writings, signs,

signals, pictures, or sounds for the purpose of executing such scheme or artifice; including but

not limited to the following:




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  Count Item Transmitted by Wire            Claimed             Date bill sent   Medicaid
          in Interstate Commerce          Service Dates         (on or about)    Recipient
    5         Bill for services sent to   10/14/2013 to          11/09/2013        B.C.
              Superior Health Plan Inc.    10/18/2013
                                                                                 (Count 1)
              Farmington, Missouri

    6        Bill for services sent to    02/03/20 14 to         02/23/2014        C.A.
             Superior Health Plan Inc.     02/07/20 14
                                                                                 (Count 2)
             Farmington, Missouri

    7        Bill for services sent to    09/08/20 14 to        09/22/20 14        C.C.
             Molina Healthcare of          09/12/20 14
                                                                                 (Count 3)
             Texas Inc. Albuquerque,
             New Mexico
    8        Bill for services sent to    10/20/2014 to          11/02/2014        B.R.
             Superior Health Plan Inc.     10/24/20 14
                                                                                 (Count 4)
             Farmington, Missouri

All in violation of Title 18, United States Code,   §   1343.


                                           COUNTS 9-12

               AGGRAVATED IDENTITY THEFT and AIDING AND ABETTING
                     Title 18 United States Code, § 1028A(a)(1) and 2

         52.      The Grand Jury incorporates by reference paragraphs 1 through 47 set out above

as though fully restated and re-alleged herein.

         53.      Beginning on or about November 14, 2011 and continuing through on or about

May 09, 2016, in the Western District of Texas, and elsewhere within the jurisdiction of the

Court, during and in relation to, felony offenses enumerated under 18 U.S.C. § 1028A(c)(5),

namely Wire Fraud in violation of 18 U.S.C. § 1343, and Health Care Fraud in violation of 18

U.S.C.   §   1347, defendant,

                                     SCHERRY LYNN MOSES



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 knowingly used, aided and abetted others in the use of, and otherwise caused others to use,

 without lawful authority, a means of identification of another person, to wit: Medicaid recipients'

 names; including but not limited to the following:

  Count           Means of          Means of Identification used          Person whose Means of
             Identification used     on bill sent on or about             Identification was used
                      on
           Bill for services sent                                            Medicaid Recipient
    9      to Superior Health               11/09/2013                             B.C.
           Plan Inc.                                                            (Count 1)

           Bill for services sent                                            Medicaid Recipient
    10     to Superior Health               02/23/20 14                            C.A.
           Plan Inc.                                                             (Count 2)

           Bill for services sent                                            Medicaid Recipient
           to Molina Healthcare             09/22/20 14                               C.C.
           of Texas Inc.                                                            (Count 3)

           Bill for services sent                                            Medicaid Recipient
   12      to Superior Health               11/02/2014                             B.R.
           Plan Inc.                                                             (Count 4)


All in violation of Title 18, United States Code, §     1   028A(a)(1) and 2.


                                            COUNT 13

                               THEFT OF GOVERNMENT FUNDS
                                Title 18 United States Code § 641

         54.    The Grand Jury incorporates by reference paragraphs          1   through 47 set out above

as though fully restated and re-alleged here in.

         55.    Beginning in or around September 1, 2013 and continuing through on or about

November 30, 2016, in the Western District of Texas, and elsewhere within the jurisdiction of

the Court, in violation of Title 18, United States Code,      §   641, defendant,


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                                     SCHERRY LYNN MOSES
 willfully and knowingly, did steal and purloin Title II Disability Insurance Benefits
                                                                                       (DIB) and
 Title XVI, Supplemental Security Income (SSI) benefits, of a value exceeding
                                                                              $1,000, of the
 goods and property of the United States.


                                             COUNT 14

                                  SOCIAL SECURITY FRAUD
                           Title 42 United States Code § 1383a(a)(3)(B)

         56.    The Grand Jury incorporates by reference paragraphs       1   through 47 set out above
 as though fully restated and re-alleged here in.

        57.     Beginning on or about May 20, 2014 and continuing through on or about

December 16, 2014, in the Western District of Texas, and elsewhere within the jurisdiction
                                                                                           of the
Court, in violation of Title 42 United States Code   §   1383a(a)(3)(B), the defendant,

                                    SCHERRY LYNN MOSES
having knowledge of the occurrence of any event affecting the initial or continued right to
                                                                                            any
such benefit of any other individual in whose behalf he has applied for or is receiving such

benefit, conceals or fails to disclose said event with intent to fraudulently secure payment in
                                                                                                a
greater amount or quantity than is due or when no such benefit is authorized; to wit, the

defendant knowingly concealed and failed to disclose that BENEFICIARY             8   was not in her care
and custody from May 20, 2014 through December 16, 2014 for the purpose of continuing
                                                                                      to

receive BENEFICIARY 8's SSI benefit payments when no payment was due.




                                         COUNTS 15-20


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                                       FALSE STATEMENTS
                               Title 18 United States Code § 1001(a)(1)

         58.     The Grand Jury incorporates by reference paragraphs         1   through 47 set out above

as though fully restated and re-alleged here in.

        59.      From on or about the days stated below, to on or about the days stated below, in

the Western District of Texas, and elsewhere within the jurisdiction of the Court, in violation of

Title 18, United States Code, Section 1001 (a)( 1), defendant,

                                      SCHERRY LYNN MOSES

did willfully and knowingly falsif,', conceal, and cover up by trick, scheme, and device a material fact in

the matter within the jurisdiction of the Social Security Administration, an executive branch of the

Government of the United States The material facts concealed by the defendant were the correct

residences for the beneficiaries below and that the beneficiaries below had been evicted from said

residences.

     Count               Beneficiary               From on or about                 To on or about

        15            BENEFICIARY        1           June 24, 2016                  August 25, 2016

        16            BENEFICIARY 2                 August 6, 2013                  October 7, 2013

        17            BENEFICIARY 3                February 19, 2014                  July 5, 2016

        18            BENEFICIARY 4               November 22, 2014                 January 8, 2016

        19            BENEFICIARY        5         February 19, 2014                August 26, 2016

       20             BENEFICIARY 6.               February 18, 2014                October 14, 2015


All in violation of Title 18, United States Code, Section 1001 (a)(1).




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                                                COUNT 21

                                        FALSE STATEMENTS
                               Title 18 United States Code § 1001(a)(1)

        60.      The Grand Jury incorporates by reference 1 through 47 set out above as though

fully restated and re-alleged here in.

        61.      From on or about August 6, 2013, to on or about October 21, 2016, in the Western

District of Texas, and elsewhere within the jurisdiction of the Court, in violation of Title 18,

United States Code, Section 1001 (a)( 1), defendant,


                                      SCHERRY LYNN MOSES

did willfully and knowingly falsify, conceal, and cover up by trick, scheme, and device a material fact in

the matter within the jurisdiction of the Social Security Administration, an executive branch of the

Government of the United States by, concealing the fact that the beneficiary, BENEFICIARY 7

represented by the defendant, was not living in the location listed on the application with the Social

Security Administration because that property had been foreclosed on August 6, 2013.




     NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                         [See Fed. R. Crim. P. 32.21


        This Notice of Demand for Forfeiture includes, but is not limited to the properties

described in Paragraphs III and IV.

                                                     I.
                             Fraud Violations and Forfeiture Statute
                             [Title 18 U.S.C. § 1347, 1343, and 1001,
              subject to criminal forfeiture pursuant to Title 18 U.S.C. § 982(a)(7)J

        As a result of the criminal violations set forth in counts One through Eight and Fifteen

through Twenty-One, the United States gives notice to the Defendant of its intent to seek the



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forfeiture of the property described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and

Title 18 U.S.C.   §   982(a)(7), which states:

        Title 18 U.S.C. § 982. Criminal forfeiture
        (a)(7) The court, in imposing sentence on a person convicted of a Federal health
        care offense, shall order the person to forfeit property, real or personal, that
        constitutes or is derived, directly or indirectly, from gross proceeds traceable to
        the commission of the offense.

                                                II.
                            Theft Violation and Forfeiture Statutes
     [Title 18 U.S.C. § 641, subject forfeiture pursuant to Title 18 U.S.C. § 981(a)(1)(C),
                made applicable to criminal forfeiture by Title 28 U.S.C. 24611

        As a result of the criminal violation set forth in Count Thirteen, the United States gives

notice to the Defendant of its intent to seek the forfeiture of the property described below upon

conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C.       §   981(a)(l)(C), made applicable

to criminal forfeiture by Title 28 U.S.C.    §   2461, which states:

       Title 18 U.S.C. § 981. Civil forfeiture
       (a)(1) The following property is subject to forfeiture to the United States:
       (C) Any property, real or personal, which constitutes or is derived from proceeds
       traceable to. . . any offense constituting "specified unlawful activity" (as defined
       in section 1 956(c)(7) of this title), or a conspiracy to commit such offense.

                                                III.
                                           Money Judgment

       Money Jud2ment: A sum of money equal to the amount of proceeds that
       constitutes or is derived from the proceeds traceable to the offenses for which
       Defendant SCHERRY LYNN MOSES is convicted.

                                                     IV.
                                           Substitute Assets

       If any of the property described above as being subject to forfeiture for the violations set

forth above, as a result of any act or omission of the Defendant:

       a. cannot be located upon the exercise of due diligence;
       b. has been transferred or sold to, or deposited with, a third party;
       c. has been placed beyond the jurisdiction of the Court;


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         d. has been substantially diminished in value; or
         e. has been commingled with other property which cannot be divided without difficulty;

it is the intent of the United States to seek the forfeiture of any other property owned by the

Defendant, up to the value of said money judgment, as substitute assets, pursuant to Fed. R.

Crim. P. 32.2(e)(1) and Title 21 U.S.C.   §   853@).


                                                       A TRUE BILL




JOHN F. BASH
UNITED STATES ATTO


By:
FIDEL ES
Special Assistant United States Attorney



By:
REX G. BE SLEY
Special Assistant United States Attorney




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